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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                           ENTERED
                                                                                                                07/06/2021
                                                                )
    In re:                                                      )
                                                                ) Chapter 11
    NEIMAN MARCUS GROUP LTD LLC, et al., 1                      )
                                                                ) Case No. 20-32519 (DRJ)
                      Reorganized Debtors.                      )
                                                                ) (Jointly Administered)
                                                                )

     ORDER SUSTAINING LIQUIDATING TRUSTEE’S TWENTY-SECOND OMNIBUS
            OBJECTION TO CLAIMS (BOOKS AND RECORDS CLAIMS)

                                           (Related Docket No. 2499)

             Upon the Objection2 of the Liquidating Trustee seeking entry of an order (this “Order”)

(i) disallowing and expunging or (ii) reducing and allowing, as applicable, the claims identified on

Schedule 1 attached hereto, it is HEREBY ORDERED THAT:

             1.      The Objection is sustained as set forth herein.

             2.      Each claim identified on Schedule 1A to this Order is disallowed in its entirety.

             3.      Each claim identified on Schedule 1B to this Order is reduced to the allowed

amount as identified.




1
      The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
      federal tax identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530);
      Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa
      Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding Corporation
      (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial Services, Inc.
      (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC (9269); NMG
      Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC (5236); NMG Salons
      LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The
      Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company
      (5996). The Reorganized Debtors’ service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Liquidating
      Trustee’s Twenty-Second Omnibus Objection to Claims (Books and Records Claims).

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        4.       Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”) is authorized and

directed to update the claims register maintained in these chapter 11 cases to reflect the relief

granted in this Order.

        5.       Each claim and the objections by the Liquidating Trustee to each claim identified

in Schedule 1 constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014.

This Order will be deemed a separate order with respect to each claim identified on Schedule 1.

        6.       Nothing in this Order affects administrative, secured, or priority amounts in the

claims identified on Schedule 1, and the Reorganized Debtors reserve the right to object to the

administrative, secured, or priority amounts on any basis whatsoever.

        7.       Notwithstanding the relief granted in this Order or any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity or such Debtor entity’s estate; (b) a waiver of any party’s

right to dispute any prepetition claim on any grounds; (c) a promise or requirement to pay any

prepetition claim; (d) an implication or admission that any particular claim is of a type specified

or defined in this Objection or any order granting the relief requested by this Objection; (e) a

request or authorization to assume any prepetition agreement, contract, or lease pursuant to section

365 of the Bankruptcy Code; or (f) a waiver of the Liquidating Trustee’s rights under the

Bankruptcy Code or any other applicable law.

        8.       The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.




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        9.       The Liquidating Trustee, Stretto, and the Clerk of the Court are authorized to take

all actions necessary to effectuate the relief granted pursuant to this Order in accordance with the

Objection.

        10.      This Court shall retain exclusive jurisdiction to resolve any dispute arising from or

related to this Order.



      Signed: July 06, 2021.
 Date:                                    , 2021
                                                         ____________________________________
                                                         DAVID R. JONES
                                                          THE HONORABLE    DAVID R. JONES
                                                         UNITED  STATES BANKRUPTCY
                                                          CHIEF UNITED               JUDGE
                                                                        STATES BANKRUPTCY
                                                          JUDGE




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                                             Schedule 1




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                                           Schedule 1A

                                       Disallowed Claims




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               Name of                                                                                    Reasoning for
  Ref #                 Debtor Name         Claim # Date Filed            Claim to be Disallowed
               Claimant                                                                                     Objection
                                                                 Administrative: $0.00
                                                                      Secured: $0.00
                                                                                                         Claim is inconsistent
            MASTERCARD       The Neiman                                Priority: $0.00
                                                                                                         with the Reorganized
    1     INTERNATIONAL     Marcus Group       1847    7/16/2020      General Unsecured: $217,500.00 Debtors' Books and
          INCORPORATED               LLC
                                                                                                                Records
                                                                                      Total: $217,500.00

                                                                 Administrative: $0.00
                                                                      Secured: $0.00
                                                                                                         Claim is inconsistent
                             The Neiman                                Priority: $0.00
                                                                                                         with the Reorganized
    2        REDONE LLC     Marcus Group     221586                   General Unsecured: $126,429.30 Debtors' Books and
                                     LLC
                                                                                                                Records
                                                                                      Total: $126,429.30

                                                                 Administrative: $0.00
                                                                      Secured: $0.00
                                                                                                         Claim is inconsistent
          TATA'S NATURAL    Neiman Marcus                              Priority: $0.00
                                                                                                         with the Reorganized
    3                                          2729    8/25/2020        General Unsecured: $59,000.87 Debtors' Books and
            ALCHEMY, LLC    Group LTD LLC
                                                                                                                Records
                                                                                       Total: $59,000.87

                                                                 Administrative: $0.00
                                                                      Secured: $0.00
                                                                                                        Claim is inconsistent
          TATA'S NATURAL        Bergdorf                               Priority: $0.00
                                                                                                        with the Reorganized
    4                                          1259    6/17/2020         General Unsecured: $2,527.20 Debtors' Books and
            ALCHEMY, LLC    Goodman Inc.
                                                                                                               Records
                                                                                       Total: $2,527.20

                                                                 Administrative: $0.00
                                                                      Secured: $0.00
               AMERICAN      The Neiman      219434                    Priority: $0.00                   Claim is inconsistent
    5         EXPRESS – Marcus Group LLC                              General Unsecured: $391,947.00 with the Reorganized
          ESTABLISHMENT                                                                                  Debtors' Books and
                                                                                      Total: $391,947.00       Records




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                                           Schedule 1B

                                   Reduced and Allowed Claims




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     Ref        Name of                                                                                                                           Reasoning for
                         Debtor Name        Claim # Date Filed                     Claim Amounts                 Allowed Claim Amount
      #         Claimant                                                                                                                            Objection
                                                                 Administrative: $0.00                   Administrative: $0.00
                                                                      Secured: $0.00                          Secured: $0.00
                                                                                                                                                 Claim is inconsistent
                             The Neiman                                Priority: $0.00                         Priority: $0.00
           KENNETH COLE                                                                                                                          with the Reorganized
      1                     Marcus Group     220789                    General Unsecured: $253,861.05           General Unsecured: $30,288.66
                    INC                                                                                                                          Debtors' Books and
                                     LLC
                                                                                                                                                        Records
                                                                                      Total: $253,861.05                       Total: $30,288.66

                                                                Administrative: $0.00                   Administrative: $0.00
                                                                     Secured: $0.00                          Secured: $0.00
                                                                                                                                                Claim is inconsistent
                                                                      Priority: $0.00                         Priority: $0.00
           PIGEON &         Neiman Marcus                                                                                                       with the Reorganized
      2                                         269   5/12/2020       General Unsecured: $202,093.11           General Unsecured: $84,069.00
            POODLE          Group LTD LLC                                                                                                       Debtors' Books and
                                                                                                                                                       Records
                                                                                     Total: $202,093.11                       Total: $84,069.00

                                                                Administrative: $0.00                   Administrative: $0.00
                                                                     Secured: $0.00                          Secured: $0.00
                                                                                                                                                Claim is inconsistent
                             The Neiman                               Priority: $0.00                         Priority: $0.00
                SIEMENS                                                                                                                         with the Reorganized
      3                     Marcus Group       1772   7/17/2020        General Unsecured: $96,222.77           General Unsecured: $70,624.43
           INDUSTRY, INC.                                                                                                                       Debtors' Books and
                                     LLC
                                                                                                                                                       Records
                                                                                      Total: $96,222.77                       Total: $70,624.43

                                                                Administrative: $0.00                   Administrative: $0.00
                                                                     Secured: $0.00                          Secured: $0.00
                                                                                                                                               Claim is inconsistent
            SOUTHERN                                                  Priority: $0.00                         Priority: $0.00
                            Neiman Marcus                                                                                                      with the Reorganized
      4    CALIFORNIA                          1156    6/8/2020        General Unsecured: $40,349.29            General Unsecured: $1,361.67
                            Group LTD LLC                                                                                                      Debtors' Books and
               EDISON                                                                                                                                 Records
                                                                                      Total: $40,349.29                       Total: $1,361.67

                                                                 Administrative: $0.00                   Administrative: $0.00
                                                                      Secured: $0.00                          Secured: $0.00
                                                                                                                                                 Claim is inconsistent
                          The Neiman                                   Priority: $0.00                         Priority: $0.00
                                                                                                                                                 with the Reorganized
      5          THE ROW Marcus Group        222061                    General Unsecured: $800,649.42          General Unsecured: $120,859.12
                                                                                                                                                 Debtors' Books and
                                  LLC                                                                                                                   Records
                                                                                      Total: $800,649.42                      Total: $120,859.12

                                                                 Administrative: $0.00                   Administrative: $0.00
           WELLS FARGO                                                Secured: $0.00                          Secured: $0.00
                                                                                                                                                Claim is inconsistent
                CAPITAL                                                Priority: $0.00                         Priority: $0.00
                            Neiman Marcus                                                                                                       with the Reorganized
      6     FINANCE AKA                        2457                     General Unsecured: $81,176.00            General Unsecured: $3,500.00
                            Group LTD LLC                                                                                                       Debtors' Books and
           WELLS FARGO
                                                                                                                                                       Records
               BANK N.A.                                                               Total: $81,176.00                       Total: $3,500.00




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